Case 21-04729               Doc 21-1           Filed 04/13/21 Entered 04/13/21 10:15:47                                   Desc Proposed
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